                   NEXT UP

                  Unidentified male suspect, vehicle sought in connection with armed robbery in
                   Hopewel…
                                                                                                      
                   An man wanted in connection with an armed robbery on Friday in Hopewell was capt


Pathologist says Ricky Gray's autopsy suggests
problems with Virginia's execution procedure

By FRANK GREEN
Richmond Times-Dispatch 
 Jul 7, 2017 




                                                      
   +1 

                                        Lawyers for William C. Morva unsuccessfully sought to delay
                                        his execution Thursday night following the reported
                                        concerns from an expert about Ricky Gray’s execution by
                                        injection in January.


                                        An article published in The Guardian on Wednesday cited a
                                        review of Gray’s autopsy report by Dr. Mark Edgar, associate

Ricky Javon Gray
                                        director of bone and soft tissue pathology at the Emory
                                        University School of Medicine in Atlanta. Edgar concluded
was sentenced to death for the
2006 killings of two young              that something appears to have gone wrong under
Richmond sisters. The girls were
                                        Virginia’s three-drug method.
among seven people Gray killed.


                                        Edgar said a frothy liquid found in Gray’s upper airways
                                        indicated that he suffered an acute pulmonary edema and
          Case 3:18-cv-01234 Document 1-38 Filed 11/02/18 Page 1 of 4 PageID #: 1272
                                                                                            Attachment 37
  +1 
                                    that blood found on his lips indicated that blood entered
                                    Gray’s lungs while he was still breathing. The Guardian
                                    reported that Edgar could not be certain about the cause of
                                    the edema, but said it would be similar to drowning.


                                    Reached Friday, Edgar told the Richmond Times-Dispatch, “I
                                    cannot know how the executioners intended or expected
                                    the drugs to work. If they expected them to cause rapid and
                                    uncomplicated death ... without the possibility of a lingering
                                    sense of panic and terror, then they did not get what they
Morva
                                    expected.


                                    “The anatomic changes described in Ricky Gray’s lungs are
                                    more often seen in the aftermath of a sarin gas attack than
                                    in a routine hospital autopsy. This is of concern especially
                                    given the fact that midazolam is not an anesthetic, but a
                                    sedative often used for medical procedures requiring
 113 people executed in
                                    conscious sedation and the issue that the compounded
 Virginia since 1982
 Feb 21, 2017 
  (0)               drugs used in this case may have lacked potency or been
 Virginia has executed 113 people   impure,” he said.
 since the U.S. Supreme Court
 allowed capital punishment to
 resume in 1976; the second most    Gray’s family obtained the official post-execution autopsy,
 in the country beh…
                                    The Guardian reported. Virginia’s medical examiner’s office
                                    conducts autopsies of executed inmates.
MORE INFORMATION
                                    “This way of dying is intolerable. You can’t control your
                                    breathing — it is terrible,” said Edgar, according to The
                                    Guardian. “When it is this severe, you can experience panic
                                    and terror and, if the individual was in any way aware of
                                    what was happening to them, it would be unbearable.”


                                    Because of the unavailability of manufactured drugs for
 William Morva executed by          executions, Virginia uses compounded midazolam and
 injection for murders in
                                    compounded potassium chloride — made by an undisclosed
 Southwest Virginia
 JARRATT — William C. Morva was     Virginia pharmacy or pharmacies — as the first and third
         Case 3:18-cv-01234 Document 1-38 Filed 11/02/18 Page 2 of 4 PageID #: 1273
                                                                                  Attachment 37
executed by injection Thursday
                                    drugs in executions. According to lawyers for Gray and
night for the capital murders of
an unarmed security guard and a     Morva, Virginia is the only state to use a combination of two
deputy sheriff …
                                    compounded chemicals in lethal injections.


                                    State law bars the disclosure of the pharmacies making the
U.N. experts urge                   drugs.
McAuliffe to grant
clemency for killer set to
die by injection Thursday           The first drug is intended to render the inmate
Two United Nations human            unconscious, the second to stop breathing and the third to
rights experts are appealing to
Gov. Terry McAuliffe to halt        stop the heart.
Thursday's scheduled execution
by injection of William C…
                                    Rob Lee, one of Morva’s lawyers, said McAuliffe was asked
                                    for a temporary reprieve at 5 p.m. Thursday, less than three
                                    hours after the governor turned down Morva’s bid for
Two previous Virginia               clemency.
death row sentences
commuted because of
mental illness; Morva               “The reprieve was requested after new information came to
scheduled to die Thursday           light raising concerns that Virginia’s lethal injection
In recent decades, Virginia
                                    protocol did not act as intended, and therefore had resulted
governors have granted
clemency to two mentally ill        in a lingering and tortuous death,” Lee said in a prepared
inmates facing execution. One
of them smeared feces over his      statement.
c…

                                    He added, “We believed a reprieve was appropriate to allow
                                    time for further investigation to ensure that the
                                    Commonwealth carries out future executions — including
                                    Mr. Morva’s — in a manner that avoids unnecessary pain
                                    and suffering.”


                                    A McAuliffe spokeman confirmed Friday that the governor
McAuliffe commutes Ivan
                                    denied the request for a temporary reprieve.
Teleguz's death sentence to
life without parole
Ivan Teleguz’s death sentence for
the murder-for-hire of his ex-
girlfriend in 2001 was commuted
to life in prison without the
possibility of p…




         Case 3:18-cv-01234 Document 1-38 Filed 11/02/18 Page 3 of 4 PageID #: 1274
                                                                                    Attachment 37
After delay in Ricky Gray
execution, Department of                “Earlier in the day, he had stated his intention to allow the
Corrections changes
                                        execution to proceed without his intervention. That
execution protocol
Execution witnesses in Virginia         statement was based on his review of the case as well as his
now will see less of the
                                        confidence in the protocol the Department of Corrections
proceedings, no longer viewing
inmates as they are led into the        used to carry out this sentence,” said Brian Coy, the
execution chamber and…
                                        spokesman.


                                        The Department of Corrections and other state officials
                                        have said they are confident in the purity and efficacy of the
                                        periodically tested chemicals used in executions.


                                        Morva’s 9 p.m. execution at the Greensville Correctional

Ricky Gray's legal team                 Center in Jarratt on Thursday, according to the Department
raises 'grave concern' with             of Corrections, was carried out without complications, and
execution procedure that
                                        he was pronounced dead at 9:15 p.m.
took more than 30 minutes
A delay in the execution of Ricky
Javon Gray on Wednesday night           After the midazolam was administered Thursday, Morva
was due to difficulty in placing
the IV line in a vein, officials with   made a loud noise that sounded similar to a hiccup, and
the Vir…
                                        there were several sharp contractions of his abdomen.


                                        The department said Gray’s execution in January was
                                        complicated by difficulties in placing IV lines. The
                                        procedure, which usually takes a few minutes, took more
                                        than half an hour.


                                        Morva was executed for killing two people during an escape
Executed: Ricky Gray put to
death for murders of Harvey             in Montgomery County in 2006. Gray, who murdered seven
girls                                   people in seven days in Richmond in 2006, was executed
JARRATT — Ricky Javon Gray was
executed by injection Wednesday
                                        for the capital murders of two young sisters.
night for the slaying of two
young Richmond sisters on New
Year’s Day 2006.
          Case 3:18-cv-01234 Document 1-38 Filed 11/02/18 Page 4 of 4 PageID #: 1275
                                                                                        Attachment 37
